Your ref

Our ref

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To be advised
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Date

26 February 2016

Attention : John Maggio Esq

Dear Mr Maggio,

Re: Indonesia AirAsia, Flight QZ8501, DOL: 28 December 2014

| am writing in my capacity as the solicitor instructed on behalf of PT Indonesia AirAsia (“IAA”)
in connection with the accident involving an Airbus A320 aircraft operated as Flight QZ8501
which crashed in the Java Sea Indonesia. This letter is in response to your request for a
statement of IAA’s position regarding litigation in the United States, litigation in Indonesia,
and settlements.

IAA is a privately held Indonesian corporation with its headquarters in Tangerang, Banten, near
Jakarta, Indonesia. IAA is licensed by the Indonesian Directorate General of Civil Aviation. At
the time of this accident and today, IAA flies routes throughout Indonesia and to destinations
in Singapore, Malaysia and Thailand. IAA did not (and does not) operate any aircraft to, from,
or within the United States and IAA has never possessed operating rights in, or to the United
States.

We have been provided with the names of the plaintiffs in the action before the Northern
District of Illinois Case No.15-CV-5486 per the Second Amended Complaint dated 15 October
2015. The plaintiffs have named 21 passengers in that action and they are as follows:

Susiyah

Andreas Widjaja

Djoko Satryo Tanoe Widjaja
Stephanie Yulianto

Prawira Harja Subagio
Djarot Biantoro

Ernawati

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Kevin Biantoro

Chi Man Choi

Zoe Man Suen Choi
Bundi Su

Yenni

Steven Michael Ang
Sharon Michelle Ang
Eko Wijaya

Susandhini Liman
Marilyn Wijaya

Alfred Wijaya

William Wijaya

Ferny Yufina Purnomo
Christien Aulia Purnomo

Flight QZ8501 was an international flight from Indonesia to Singapore. All the above-named
passengers were on roundtrip carriage beginning and ending in Surabaya, Indonesia. Their
carriage was therefore governed by the Warsaw Convention 1929. The accident occurred in
Indonesian waters. There is no jurisdiction for claims arising against IAA anywhere other than
in Indonesia pursuant to Article 28 of the Warsaw Convention.

It is not IAA’s intention to obstruct the assertion of claims by passengers’ families against IAA,
but IAA believes that claims arising from this accident should be governed by Indonesian law
and that damages for such claims should be awarded in accordance with that law.
Consequently, IAA will not agree to submit to jurisdiction of a court located in the United
States. IAA will also not agree to make its employees, representatives or counsels available
for depositions in the United States nor will it agree to produce documents for use in the United
States litigation, unless required by Indonesian courts under Indonesian law.

To date, IAA has already settled many claims for those onboard the tragic flight. If the United
States lawsuit is dismissed and refiled in Indonesia against IAA, IAA will agree to pay such
damages as are finally determined by an Indonesian court.

| hope this explains our position. Please feel free to make this lettter available to the court in
the United States that is hearing this matter.

A
our$ sincerely,

Peng Li
Partner
Global Head of Aviation

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